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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

NORIS BABB
     Plaintiff,

v.                                                    Case No.: 8:14-cv-1732-T-33TBM

SECRETARY, DEPARTMENT OF
VETERANS AFFAIRS,
      Defendant.
________________________________________/


            PLAINTIFF’S UNOPPOSED MOTION TO STAY PROCEEDINGS

       Plaintiff, Noris Babb, by and through her undersigned counsel, hereby moves for an order

staying the proceedings in this case due to Plaintiff’s intent to file a petition for certiorari with

the United States Supreme Court with respect to the opinion issued by the United States Court of

Appeals for the Eleventh Circuit in its appellate Case No. 16-16492, dated July 16, 2018. In

support of her Motion, Plaintiff states as follows:

       1.      On August 23, 2016 this Court entered its Order granting Defendant’s Motion for

Summary Judgment that, inter alia, analyzed Plaintiff’s retaliation and gender and age

discrimination claims under the burden-shifting framework established in McDonnell Douglas

Corp. v. Green, 411 U.S. 792 (1973) rather than the “motivating factor” standard. (Doc. 83). The

Court entered a separate Judgment in a Civil Case in accordance with its Order. (Doc. 84).

       2.      On October 11, 2016 Plaintiff filed her Notice of Appeal of the Order and

Judgment to the United States Court of Appeals for the Eleventh Circuit.

       3.      On July 16, 2018, the Eleventh Circuit issued its Opinion affirming aspects of the

Order related to the Age Discrimination in Employment Act (ADEA) retaliation under Title VII,

and Plaintiff’s hostile work environment claim, but reversing this Court’s grant of summary


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judgment on Plaintiff’s Title VII claims for consideration under the motivating factor standard.

(Doc. 92).

       4.      The Eleventh Circuit remanded the case to this Court for proceedings consistent

with its Opinion. (Doc. 92).

       5.      On August 30, 2018 Plaintiff filed her Petition for Rehearing En Banc or Panel

Rehearing to the Eleventh Circuit.

       6.      The Eleventh Circuit denied Plaintiff’s Petition on October 9, 2018 and issued its

Mandate to this Court on October 17, 2018. (Doc. 93).

       7.      On October 18, 2018 this Court directed the parties to file a joint status report by

October 29, 2018. (Doc. 94).

       8.      After receiving the Eleventh Circuit’s Mandate, Plaintiff has decided to file a

petition for certiorari with the United States Supreme Court. Plaintiff has until January 7, 2019 to

file her petition. As such, and for the reasons that follow, Plaintiff respectfully requests that this

Court issue an order staying all proceedings in this Court pending the filing of the petition and its

disposition by the Supreme Court.

       9.      The undersigned has contacted counsel for the Defendant, who does not oppose

this Motion.


                                   MEMORANDUM OF LAW

       District Courts are given “broad discretion over the management of pretrial activities,

including discovery and scheduling,” Johnson v. Bd. of Regents of Univ. of Ga., 263 F.3d 1234,

1269 (11th Cir. 2001), and have broad authority to grant a stay. See Landis v. N. Am. Water

Works and Elec. Co., 299 U.S. 248, 254-55 (1936) (describing the power to stay proceedings as

“inherent in every court to control the disposition of the causes on its docket with economy of


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time and effort for itself, for counsel, and for litigants.”). In determining whether to grant a stay

of proceedings, there is “no precise test,” but district courts will generally consider “the need for

a stay, the balance of potential hardship to the parties and the public, and the promotion of

judicial economy.” Eberle v. Wilkinson, No. 2:03-CV-272, 2007 WL 1666229, at *3 (S.D. Ohio

June 4, 2007). District courts routinely stay proceedings on the basis that the Supreme Court

potentially granting certiorari could affect their own proceedings. See, e.g., Seminole Tribe of

Fla. Seminole Tribe of Fla. v. Fla. Dep't of Revenue, No. 12-62140-CIV, 2016 WL 7507975, at

*1 (S.D. Fla. Feb. 5, 2016); Citibank, N.A. v. Stok & Assocs., P.A., No. 09-20770-MC, 2010 WL

11553382, at *1-2 (S.D. Fla. Dec. 15, 2010); NGV Gaming, Ltd. v. Harrah’s Operating Co., No.

04-3955 SC, 2008 WL 4951587, at *1 (N.D. Cal. Nov. 18, 2008); U.S. v. Kenney, No. CR-07-

66-B-W, 2008 WL 3285891, at *1 (D. Me. Aug. 5, 2008); Davis v. Blige, No. 03 CIV. 993

(CSH), 2008 WL 2477461, at *2 (S.D.N.Y. June 16, 2008); Walker v. Monsanto Co. Pension

Plan, 472 F. Supp. 2d 1053, 1054-55 (S.D. Ill. 2006); SmithKline Beecham Corp. v. Apotex

Corp., 2004 WL 1615307, at *8 (E.D. Pa. July 16, 2004); Peaceable Planet, Inc. v. Ty, Inc., No.

01 C 7350, 2004 WL 1574043, at *2 (N.D. Ill. July 13, 2004).

        If the Supreme Court grants certiorari in this case, its resulting opinion will affect any

proceeding that will go on from this point in time. A stay of the trial proceedings will conserve

the resources of the parties and this Court in the event the Supreme Court grants certiorari. If the

Supreme Court were to deny Plaintiff’s petition, no irreparable harm would result, and the

modest delay would not prejudice the parties. On the other hand, denial of a stay would prejudice

the parties because a favorable outcome with respect to Plaintiff’s petition would result in

multiple trials.




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        To conserve the resources of the Court and the Parties, Plaintiff respectfully requests the

Court to stay the proceedings and to commence processing the case when the Supreme Court

either (a) denies Plaintiff’s petition for certiorari or (b) issues its opinion after granting Plaintiff’s

petition.

        WHEREFORE, Plaintiff respectfully requests that this Court enter an order staying the

proceedings and for such other relief the Court deems just and proper.

        DATED this 25th day of October, 2018.

                                                         Respectfully submitted,

                                                         /s/ Joseph D. Magri____
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                                                         Attorney for Plaintiff




                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 25, 2018 I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send a notice of the electronic filing

to the following CM/ECF participants:

A. Lee Bentley, III
United States Attorney
Michael Kenneth
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                                          /s/JOSEPH D. MAGRI
                                          Joseph D. Magri




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